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DEH/LJW:       USAO#2UI6RUU481

                            IN THE UNITED STATES DlSTRI<z'i1:COUlH'                P'i 3: I 2
                                FOR THE DISTRICT OF MARYLA D
                                                                  L.   l-   ,,:.    1",,_

                                                                   AT~f.L: I I~RC:
UNITED STATES OF AMERICA                           *
                                                   *
        v.                                         *
                                                   *
CHARLES GILLIAM, JR.                                                   UNDER SEAL
alkla "Big Head Charlie",
                                                   *
alk/a UBig C",                                     *
a/k/~l "Chuck",                                    *      (Conspiracy to Distribute and Possess
                                                   *      with Intent to Distribute Cocaine Base
THEODORE            SMITH                          *      and Heroin, 21 U.S.c. ~~ 846, 841(a)(I»
••/k/a "l\]oncy",                                  *
                                                   *
DARRYL SCOTT
alk/a "Kojak",
                                                   *
                                                   *
ANTHONY            HART                            *
a/kla "Big 1\lan",                                 *
alk/a "'Loaf',                                     *
                                                   *
LEON KOGER                                         *
~l/kJa'"JB",
                                                   *
TARIK BROOKS                                       *
a/k/a "Sweets",                                    *
                                                   *
JERMAINE           EPPS                            *
a/kla "Panth",                                     *
                                                   *
DARREN FARMER                                      *
alk/a "'Juju",
                                                   *
TERRY DOWNS                                        *
alkla "'Charles Davenport",                        *
                                                   *
ASANTE LEROY MARSHALL                              *
  a/kla "Ta)''',                                   *
                                                   *
KEVIN RASEAN MOORE                                 *
 alk/a "Akia Owens",
                                                   *
EDDIE LEWIS                                        *
 a/k/a "E",                                        *
                              Defendants.          *
                                                    *
                                                 ******
                                            INDICTMENT
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       The Grand Jury for the District of Maryland charges:

                                        COUNT ONE
  (Conspiracy   to Distribute and Possess with Intent to Distribute   Controlled   Substances)

       From in or about October 2015 and continuing through the date of this Indictment, in the

District of Maryland and elsewhere,

                                      CHARLES GILLIAM, JR.
                                      a/k1a ~'BigHcad Charlie",
                                      a/kia "Big: C",
                                      a/kla "Chuck",

                                      THEODORE            SMITH
                                       a/kla "Money",

                                      DARRYL SCOTT
                                      a/kla "Kojak",

                                      ANTHONY HART
                                      a/kla HBig 1\lal1",
                                      a/kla "Loar',

                                      LEON KOGER
                                      a/kla "JU",

                                      TARIK BROOKS
                                      a/kla HS\'rects",

                                      JERMAINE            EPPS
                                      a/kla HPonth",


                                      DARREN FARMER


                                      TERRY DOWNS
                                      a/kla "Charles Davenport",

                                      ASANTE LEROY MARSHALL
                                         a/k/a "Tay",

                                      KEVIN RASEAN MOORE
                                       a/k1a "Akia Owens", AND

                                      EDDIE LEWIS
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the defendants herein, did knowingly and willfully combine, conspire, confederate and agree

with persons known and unknown to the Grand Jury, to knowingly and intentionally distribute

and possess with the intent to distribute: (I) a mixture or substance containing a detectable

amount of cocaine base ("crack"), a Schedule II controlled substance, and (2) a mixture or

substance containing a detectable amount of heroin, a Schedule I controlled substance,              111


violation of Title 21, United States Code Section 841 (a)(1).

21 U.S.c.   SS   841,846.

                  Quantitv of Controlled Substances    Involved in the Conspiracv

         With respect to: CHARLES GILLIAM, JR., a/kla "Bi::: Hcad Charlie",          a/k/a "Bi:::

C", a/kla "Chuck";         THEODORE   SMITH, a/kla "Money";       DARRYL SCOTT, a/kla

"Kojak";    ANTHONY HART, a/kla "Bi::: Man", a/kla "Loal";          LEON KOGER, a/kla ",IB";

TARIK BROOKS, a/kla "Sweets"; and JERMAINE                EPPS, a/kla "Ponth";    the quantity of

controlled substances in the conspiracy attributable to each of thcm as a rcsult of their own

conduct, and the conduct of other conspirators reasonably foreseeable to them, is 280 grams or

more of a mixture or substance containing cocaine base, in violation of 21 U.S.c.   S
841 (b)(l)(A);

         With respect to: DARREN FARMER, a/kla "Juju";           TERRY DOWNS, a/kla

"Charles    Davenport";     ASANTE LEROY MARSHALL,              a/kla "Tay"; and EDDIE LEWIS,

a/kla "E"; the quantity of controlled substances in the conspiracy attributable to each of them as

a result of their own conduct, and the conduct of other conspirators reasonably foreseeable to

them, is 28 grams or more of a mixture or substance containing cocaine base, in violation of 21

U.S.C.   S 841(b)(l)(B);
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       With respect to CHARLES GILLIAM, JR., a/kla "Big Head Charlie",             a/kla "Big C",

alkfa "Chuck";   LEON KOGER, alkla "JB"; and KEVIN RASEAN MOORE, alkla "Akia

Owens"; the quantity of controlled substances in the conspiracy attributable to them as a result

of their own conduct, and the conduct of other conspirators reasonably foreseeable to them, is a

detectable amount of heroin, in violation of21 U.S.C. g 841(b)(I)(C).
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                                        FORFEITURE

  The Grand Jury further finds that:

         Pursuant to Title 21 U.S.c. ~ 853(a), upon conviction of Count One in this Indictment,

 each defendant shall forfeit to the United States of America:

                 a. any property constituting, or derived from, any proceeds obtained, directly or
                    indirectly, as the result of such violation, and

                 b. any property used, or intended to be used, in any manner or part, to commit,
                    or to facilitate the commission of, such violation;

         Ifany of the property described above, as a result of any act or omission of the

 defendants:

         a.      cannot be located upon the exercise of due diligence;

         b.      has been transferred or sold to, or deposited with, a third person;

         c.      has been placed beyond the jurisdiction of the Court;

         d.      has been substantially diminished in value; or

         e.      has been commingled with other property which cannot be subdivided without

                 difficulty;

 the United States of America shall be entitled to forfeiture of substihlte property pursuant to 21

 U.S.c. ~ 853(p), as incorporated by 28 U.S.c. ~ 2461(c).

 21 U.S.c. ~853(a)
 21 U.S.c. ~2461(c)
 Fed. R. Crim. P. 32.2.(a)
                                                .£LI !l &MLd¥CH
                                                ~nstein
                                                United States Attorney
 A TRUE BILL:
  •

SIGNATURE REDACTED
